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                     THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


                                           MDL No. 2875
 IN RE: VALSARTAN, LOSARTAN,
 AND IRBESARTAN PRODUCTS                   Honorable Robert B. Kugler,
 LIABILITY LITIGATION                      District Court Judge

                                           Honorable Joel Schneider,
                                           Magistrate Judge

 This Document Relates to All Actions      ORDER GRANTING
                                           WHOLESALER DEFENDANTS’
                                           MOTION TO DISMISS IN FULL


       THIS MATTER having come before the Court upon Wholesaler

 Defendants’ Motion to Dismiss, joined by Distributor and Re-packager

 Defendants, on notice to liaison counsel for Plaintiffs, and the Court having

 reviewed the submissions of the parties, any replies thereto, and having heard

 argument, and for good cause appearing:

       It is, on this ________ day of __________________________ 2020,

       ORDERED AND ADJUDGED that Wholesaler Defendants’ Motion to

 Dismiss the Complaints is GRANTED IN FULL.

       IT IS FURTHER ORDERED that the Master Personal Injury Complaint

 (ECF No. 122), the Consolidated Second Amended Economic Class Action

 Complaint (ECF No. 398), and the Consolidated Amended Medical Monitoring
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 Class Action Complaint (ECF No. 123) are hereby DISMISSED as to all

 Wholesaler Defendants, Distributor Defendants, and Re-packager Defendants.

       IT IS FURTHER ORDERED that a copy of this Order shall be served on

 all counsel of record within ____ days of Wholesaler Defendants’ liaison counsel’s

 receipt of this Order.




 Dated:________________
                                             ______________________________
                                             Hon. Robert B. Kugler, U.S.D.J.
 Motion Opposed _________
 Motion Unopposed _______




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